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IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF PENNSYLVANIA
DONALD J. TRUMP FOR
PRESIDENT, INC., et al.,

 

Plaintiffs,
V.

KATHY BOOCKVAR, et al.,

 

Defendants. No. 2:20-cv-966-NR

 

ENTRY OF APPEARANCE
Kindly enter the appearances of Joseph J. Joyce, III, Matthew J. Carmody and
the law firm of Joyce, Carmody & Moran, P.C. on behalf of Defendant Luzerne
County Board of Elections in the above-matter.

Respectfully,

s/ Matthew J. Carmody

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Luzerne County Board of Elections
DATED: July 7, 2020
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CERTIFICATE OF SERVICE
I, MATTHEW J. CARMODY, certify that on this date I caused a true and
correct copy of the foregoing entry of appearance to be served by U.S. First Class

Mail upon the following counsel of record and the following unrepresented parties:

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s/ Matthew J. Carmody

 

Matthew J. Carmody
DATED: July 7, 2020
